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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                        CASE NO. 19-CV-20264-GOODMAN [Consent Case]

  ERIC EWING,

         Plaintiff,
  v.

  CARNIVAL CORPORATION,

        Defendant.
  __________________________/

                             JOINT NOTICE OF LOCATION OF
                       PREVIOUSLY FILED DEPOSITION TRANSCRIPTS
                      AND NOTICE OF FILING DEPOSITION TRANSCRIPTS

         Plaintiff, ERIC EWING, by and through undersigned counsel, pursuant to the Court’s

  Paperless Order [D.E. 148], hereby files the following notice:

         The following depositions have been previously filed:

                 a. Rudolph Williams, D.E. 39-4.

                 b. Gilbert Rotairo, D.E. 39-5.

                 c. Maria Geraldine Peredo, D.E. 39-6.

                 d. Monica Brocegue, D.E. 49-4.

                 e. Kimberly Jones, D.E. 53-2.

                 f. Alan Tefora, D.E. 59-1.

                 g. John Schroth, P.A.-C, D.E. 137-1

         The Parties hereby file the following depositions:

                 1. Robert Ewing, Jr.

                 2. Girish Divadiga.



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                 3. Allison Harbart, M.D.

                 4. Amanda Lohr.


                                                       Respectfully submitted,

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                                                       -AND-

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                                                       By: /s/ MICHELLE Y. GURIAN___
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                                                       MICHELLE Y. GURIAN
                                                       Florida Bar No.: 100312

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

  Court via CM/ECF on September 28, 2021. I also certify that the foregoing was served on all

  counsel or parties of record per the below Service List either via transmission of Notices of

  Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronic Notices of Filing.

                                                       By:     /s/ Michelle Y. Gurian
                                                               Michelle Y. Gurian

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                                      SERVICE LIST

                               Ewing vs. Carnival Corporation
                             Case No.: 19-cv-20264-GOODMAN

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